Case 2:02-cr-20191-BBD Document 79 Filed 06/27/05 Pagg_[ii)o§‘d%§r§@.tf§?$l

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UNITED sTATEs DIsTRIC'r COURT

WESTERN DISTRICT OF TENNESSEE ; _;*_;__ - -*3:. Dl T?IOLJO

 

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Western Division §§ `§*F`£g:t§t; ElEESITAPHlS
UNITED STATES OF AMERICA
-v- Case No. 2:02cr20191-1-D
TERRY BOWEN
ORDER SETT|NG

COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Prem'al Services Office, Probation Office, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed. The defendant shall next appear as directed by the Court.

ADD|TiONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTI'IER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 Execute a bond in the amount of $10,000.00 or an agreement to forfeit upon failure to appear as required,
and post with the following amount of money to be deposited into the registry of the Court: W/IO% CASH
DEPOSIT WITI-I THE CLERK OF COURT.

0 Report as directed by the Probation Ofiice.
o Other: .
0 Other: Defendant shall abide by all conditions of supervised release previoust imposed..

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

This dochent entered on the docket sheet |n compliance
AO 199A Order Setting Conditions of Re|ease Wlfh R\l|e 55 and/O|lsz'lb) FRC|'P Dn d

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Case 2:02-cr-20191-BBD Document 79 Filed 06/27/05 Page 2 of 4 Page|D 82

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a tenn
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or infon'nant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punislnnent may be
imposed If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a tenn of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fmed not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release I promise
to obey all conditions ofrelease, to appear as directed, and to surrender for service of any sentence imposed I am aware
of the penalties and sanctions set forth above.

Z/¢)/ d,.,_/»-/
Signature of Defendant

TERRY BOWEN
1904 W'HITNEY
MEMPHIS, TN 3 8127
90 1-3 54-2 l 29

Ao issA order setting condiiions of Reiease -2-

Case 2:02-cr-20191-BBD Document 79 Filed 06/27/05 Page 3 of 4 Page|D 83

DlRECTlONS TO THE UNITED STATES MARSHAL

l:| The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

 

 

 

Date: June 24, 2005

 

 

" TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

AO 199A Order Setling Conditiona of Re|ease '3'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 79 in
case 2:02-CR-2019l Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

John Thomas Tibbetts

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

